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       bizagent818@gmail.com email                    C N                 pEP~



                                       UNITED STA'TI S DISTRICT COURT
                                      CENTRAL DIST'RIC1' OF CAL~ORNIA
 ~~
        JASON ALAN,                                  )
                                                                                                               l
                                                     ~      VERIFIED COMPLAINT'
        Plaintiff,                                   ~      (Amount to exceed $25,000.00)
 y                                                   ~         1) Breach Of Express Warranty
                vS.                                  ~         2) Breach Of Implied Warranty
1 ii                                                 ~         3) Breach of Warranty (Song-Beverly
       'CESLA MOTONS INC; DOES 1-10                  )              Consumer Warranty Act), Civil (:ode
II
        INCLUSIVE,                                   ~              1790, et seq.
12                                                   ~         4) Breach of Warranty (Magnuson-Moss
        Defendant,                                   ~              Warranty Act), l5 U. S. C. ~ 2301 et seq
l~                                                   ~         S) Breach of Contract
                                                               6) Common Law Fraud
14
                                                               7) Intentional Misrepresentation
1.5                                                            8) Negligent Misrepresentation
                                                               9) Violation of the California ilnfair
16                                                                  Competition Act("UCL"), Business and
                                                                    Professions Code ~ 17200, et seq.
17
                                                                10)Violation of the California False
l~                                                                  Advertisement Law ("FAL"), Business an 1
                                                                    Professions Code ~ 17500, et seq.
19                                                              1 1)Quasi Contract/Restitution/Unjust
                                                                    Enrichment
20
                                                             JURY TRIM. DEMANDED
21
               NOW COMES the Plaintiff, JASON ALAN, Plaintiff's complaint against, TESLA, alleges
~~
       and affirmatively states as follows:
2~
~q                                                    PAR'CIES
25

26              1 . Plaintiff, JASON ALAN ("Plaintiff'), is an individual who purchased subject vehicle in

27         the State of California.

?g



                                      COMPLAINT —Jason Alan v. Tesla Motors Inc
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            2. Defendant Manufacturer, TESL,A ("Defendant","Manufacturer" or ""TESLA"), is

         corporation, authorized to do business in the State of California and is engaged in the

         manufacture, sale, and distribution of motor vehicles and related equipment and services.

    1    Manufacturer is also in the business of marketing, supplying and selling written warranties to

         the public at large. Manufacturer does business in all counties of the State of California. Tesla
    ~~   is one of the few auto manufacturers in the ilnited States that designs, manufactures, markets,
    7    distributes, and sells exclusively fully electric vehicles.
    8

    9                                       FACTUAL ALLEGATIONS

10
            ~. In 2019, JASON ALAN ("Plaintiff' or"ALAN")a disabled resident of Ventura county
I I
         on June 24, 2Q19 purchased for $52,729.50 (nut the door price) a new 20]9 Tesla Model 3
1?
         Standard Range Plus("Model 3"), manufactured by "I'~.SLA,("Defendant" "Manufacturer" or
l

14       "TESI,A") Vehicle Identification No. SYJ3EIEA2KF397i51.

I~          4. "fhe price of the MODEL 3, including sales tax, registration charges, document fees and

(~       other collateral charges, such as bank and finance charges totaled more than valuable

~~~~     consideration.
l8
             5. In consideration for the purchase of the MODEL 3, Defendant issued and supplied to
19
         Plaintiff several written warranties, as well as other standard warranties fully outline in the
20
         Manufacturer's Warranty Booklet.
21
             6. In or around late June of 20]9, Plaintiff took possession of the MODEL 3 and shortly
22
         thereafter experienced the various defects listed below that substantially impair the use, value
2>

24       and/or safety of the MOUF.L,3.

2.5          7. Plaintiff brought the MODEL 3 to seller and/or other authorized service centers of

26       ~l'ESLA for various defects, including, but not limited tc, the following:
27

28
                                                          z

                                  COMPI,AIN~'-- Jason Alan v. Tcsla Motors Inc
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                  a. I)elective braking system; horrible squealing and grinding sounds November 19,

               2020, December 11, 2020, December 28, 2020, and January 28, 2021, and a second

               time on January 28. 2021 (fve visits).

:~

                  b. Defective Air Condition System "HVAC"; shaking entire car, vibrating against
(~             frame of vehicle. December 1 1, 2020 &December 28, 2020(two visits)
 7
 8
                  c. Defective Battery; -kicking sound metal on metal when at supercharger
 q
               charging vehicle. December 28, 2020(one Visit)
lU
II
12                d. llefective Electronics -- safety restraint lights, dash camera system, sentry mode

13             system, 'tire pressure management system lights going on when no leaks had been

 ~1            detected. Uecernber 11, 2020(one visit)
I~
(~        8.    Plaintiff provided Defendant sufficient opportunities to repair the MODEL 3 on five
17
      separate occupations within a 45 day period, however the same issue remains.
18
          9. Defendant has not been able to fix the brakes after five visits to service center with said
19
       period and one visit to Plaintiff's home.
20
           1 0. Defendant through its authorized service centers was unable and/or failed to repair the
21
22     MnI)F.I, 3 within a reasonable number of attempts. ('ofield r. Kia Motors Am., 1~•rc., F074977,

2~     at * 1 I (Cal. Ct. App. Aug. 23, 2019)("The reasonableness of the number of repair attempts is

24     a question of fact to be determined by the jury in light of the circumstances, but at a minin~un~
2.5    there must he more than one opportunity to fix the nonconformity.") See also Or•egel v.
26     Americcrrr Lsuzir Motors Ir~c., 90 Cal.App.4th 1094, 1103 (Cal. Ct. App. 2001)("Isuzu concedes
27
       that four failed repair attempts for the same problem is a reasonable number of attempts.")
Zx
                                                        z
                                COMPI.AIN'I' -Jason Alan v. Testa Motors Inc
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          11. The Model 3 is and always has been defective, including during Tesla's express

      warranty coverage period.

          1 2. Since or before 2019, Defendant 'I'esla, knew about the unsafe nature of the Model 3

 ~1   line of cars braking systems as published nn its website and in other various online

      publications.
 ~>       1 3. Knowing the truth and motivated by profit and market share, Defendants have
 7
      knowingly and willfully engaged in the acts and/or omissions to mislead and/or deceive

      Model 3 owners such as Plaintiff.
 ~~
          14. 1'esla knew that the brake system was defective, yet sold the model 3 without
 O
      disclosing said flaw to Plaintiff.
1 1
          1 5. Even worse, Tesla intentionally represented to as equipped with a tested and validated
12

13    brake control systerr~ with an intent to deceive Plaintiff into believing that his Model 3 is safe

I I   and stable when it is not.

I~        16. "I'esla even went as far as to gaslight Plaintiff into believing that everything was
(>    operating "within spec" at each service visit when it indeed was not the case.
17
          1 7. Plaintiffjustifiably lost confidence in the MODEL 3's reliability and said defects have
18
       substantially impaired the value of the MODEL 3 to Plaintiff.
19
          18. Said defects could have not been discovered by Plaintiff prior to Plaintiff's acceptance
20
       of the MODEL. 3.
21
           19. On December 16, 2020 Plaintiff sent his notice of dispute to Defendant requesting a
22

2      buy back of his vehicle via USPS Certified mail. Defendant never responded.

Za        20. I.)efendant refused Plaintiff's demand far revocation and has refused to provide

25     Plaintiff with the remedies Plaintiff is entitled upon rev<~cation.
26        21. On January 28, 2021 Plaintiff contacted Tesla after the visit to the service center that
27
       day.
28



                                COMPLA[N~'~ -Jason Alan v. "1'csla Motors Inc
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           22. Defendant sent a technician to Plaintiff's home to inspect the vehicle where it was

 -,    discovered that an essential metal wire harness was not properly reconnected to the brake

       system. Plaintiff was alarmed by this to say the very least.

-1         23. 1'esla attempted to conceal the above referenced second visit nn January 28, 2021

        because no record was ever made so therefore in Defendants' eyes it probably maybe never
 r,     happened. This act concealed the issue since it never was documented.
 7
           24. "I'esla actively concealed the fact that iheModel 3 lacked an effective brake control
 S
        system by not documenting all of Plaintiff's comE~laints about the defective brakes. Plaintiff
 q
        continually misrepresented that the brake control system

           25. It is important to take note that all defects were verified by a Factory Trained

        Technician and repaired, but the repairs made were only temporary when it comes to the brakes

        making noise when stopping, causing Plaintiff the need to return to Defendant for more repairs

       (five in total).

           26. A TESLA trained and paid Technician verified and attempted to fix the problems on

        every report from burnishing the brake pads to replacing the brake pads and brake rotors, but
17
        the repairs have proven tc> be unsuccessful and continue to cause concerns. All of the issues
I ti
        were laid for bathe manufacturer_under the manufactures warrantX.
19
            27. 'the Manufacturer does not approve any repair unless it is a defect in material or
20
        workmanship. "I'he records show parts were replaced; the repairs were made under the Factory
21
        Defect Warranty.
22

2~

24          28. The vehicle has a manufacturing defect with the brake system that was with the

25      vehicle when it left the factory and at the time of sale to Plaintiff; and this defect will continue
26      to cause problems.
27

28


                                 COMPLAINT— Jason Ala~~ v. Tesla Motors Inc
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         29. If Plaintiff were to try to sell this vehicle and were to disclose the repair order history
 1
      to a potential buyer, the sale would most likely be lost. This vehicle, in spite of being
 2

 3    relatively new, already has the characteristics of a used vehicle.

 4       30. The nature of the defects was such that no reasonable person would purchase this

 5    vehicle for the purpose of having a dependable, reliable transportation. The repair history and
6     the current and unresolved issues with the vehicle do nat constitute normal or expected
 7
      operation, and the resulting. conditions constitute a substantial impairment to any reasonable
 8
      consumer.
9
         31. Plaintiffs suffered economic damage because he was deprived ofthe benefit ofthe
10
      bargain since he would not have purchased the Model 3 had he known about the safety flaw
11
      in these vehicles and would have purchased electric vehicles of T'esla's competitors, such as
12

13    Chevrolet Bolt or Nissan Leaf, which use regenerative braking system in such manner that it

14    does not interfere with the vehicle's stability or safety, or Tesla's competitors in the luxury SIJV

15    market, such as Range Rover, BMW X5, or Mercedes M Class, which do not have these same

lE    issues.
17
         32. Plaintiff alleges that Defendants' practice of representing that the brake control
18
      effectively eliminates the safety issues of the braking system, and failure to adequately
19
      disclose that the brake controls have safety flaws impacts the competition between Tesla and
20
      other electric vehicle manufacturers equipped with regenerative braking. This practice gives
21
      "fesla a competitive advantage over other businesses operating in the same market. It is
22

2~    i mportant to note that I'laintiffwas a first-time electric vehicle buyer, and thus Tesla competes

24    not only with other electric vehicle manufacturers, but also with gas powered luxury vehicle

25    manufacturers.

26

27

28



                               COMPLAINT —Jason Alasi v. Tesla Motors Inc
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            33. The Model 3,thus, is not the same quality as those generally accepted in the trade of

       vehicles, are of poor or below average duality within the description ofmass-production vehicles

       and/or did not conform to the affirmations offact made by Tesla in its labeling of The Model 3.

            34. Tesla continues its unfair, fraudulent and unlawful practice as alleged herein.

       Additionally, others will never know whether the next Tesla they are purchasing will use
 6     the regenerative braking safely or not.
 7
                                TOLLING OF STATUTE OF LIMITATIONS

            35. Any applicable statutes of limitation have been equitably tolled by Tesla's
 q
       affirmative acts of fraudulent concealment, suppression and denial of the true facts regarding
 O
       the existence of the safety features and safety flaws as alleged herein. Such acts of fraudulent
Il
       concealment include, but are not limited to intentionally covering up and refusing to disclose
I?

13     ghat The Tesla Model 3 has safety flaws. Through such acts offraudulent concealment, Tesla

1 ~4   was able to actively conceal from the public for years the truth about the defects in the model

IS     ;.

Ib          36. Defendant is estopped from relying on any statutes of limitation because of their
17     misrepresentation and fraudulent concealment of the true facts, as described herein, concerning
18
       the lack of safety flaws and existence of effective safety features in The Model 3.
19
       nefendant were, at all times aware ofthe safety flaws as described herein, but sold The Model 3
2U
       regardless and without disclosing said flaws despite this knowledge.
21
                                      FIRST CAUSE OF ACTION
22
                                  BREACI~ OF EXPRESS WARREINTY
2

24          37. Plaintiff rc;-allege and incorporate by reference as fully set forth herein all paragraphs of

25     this Coiiiplaint.
26          38. Tesla provided Plaintiff with the 48 months or 50,000-mile warranty against defects
27
       i n materials or workmanship ("Warranty")
28



                                 COMPLAINT —Jason Alan v. Testa Motors Inc
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         39. Said Warranty was provided in consideration for the purchase of The Model 3, which

 -,   became part of the basis of the bargain, because it was incorporated into the purchase

      agreement of The Model 3.

 ~1      40. Plaintiff learned about the existence of such Warranty pre-purchase, and as reasonable

      a person, relied on the existence of such warranty. Plaintiffs' conduct of purchasing The
(~    Model 3 is in accordance with their reliance on said Warranty.
 7       41. The braking defect complained herein is a defect in materials and/or workmanship and

      is covered under t}~e Warranty. Applying any warranty limitation period to avoid the need to
 ~~
      repair this particular defect would be unconscionable in that, inter a1ia, The Model 3 at issue

      ccmtained a defect at the time of delivery, "I'esla was either aware of or consciously and/or

      recklessly disregarded this defect which could not be discovered by Plaintiff at the time of such

      purchase, and Plaintifflacked any meaningful choice with respect to the warranty terms.

 -1      42. Plaintiff substantially performed all of his obligations under the Warranty, by presenting

I~    the Vehicles to authorized 1'esla repair facilities during the warranty coverage period and/or by
(~    accepting all of'the over-the-air updatesprovided by Tesla.
17       43. Furthermore, Tesla represented that The Model i vehicle was equipped with a tested
I~
      and validated brake control system that eliminated the possibility of any issues.
19
         44. Tesla's representations about the brake control system on The Model 3 were false
20
      representations offact, that were known by the Defendant to be untrue at the time they were
21
      made and were intended to create reliance.
22

2~       45. Tesla's representations about the brake system on The Model 3, thus created express

24    warranties that The Model 3 vehicle would contain an effective braking system.

2S       46. Tesla breached the express warranties by selling "The Model 3, which lack an effective

26    braking control system; by failing torepair/fix the haws in the braking control system through
27    over-the-air updates and in-store. "I'esla's breach caused injury to Plaintiff; because Plaintiff
28
                                                     x

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       did not get the benefit of the bargain, which included, %i'1tC'1'' CIIICd, an effective and safe brake

       system.

           47. Defendant have and continue to breach their express warranties as alleged herein,

       because 7'he T'esla Model ~ lacks an effective brake control system at the time of sale; because

       "1'esla fails to repair/fix the flaws in the brake control system through over-the-airupdates and
 t~    i n-store.
 7
           48. As a result of Defendants' breach of express warranties as set forth above, Plaintiff

       has suffered and will continue to suffer damages in an amount to he determined at trial.
 ~~
                                      SECOND CAUSE OF ACT10N
 O                                  BREACH OIL IMPLIED WARRANTY
II         49. Plaintiffs re-allege and incorporate by reference as fully set forth herein all paragraphs
1?
       of the Complaint.
 .~

 -'I       50. "1'he "I'esla Model vehicle belonging to Plaintiff is a manufactured good.

IS
           51. The transactions by which Plaintiff purchased The Model 3 was a transaction for the
1 (>

17     sale of goods and at all times relevant., Tesla was the seller of The Model 3 and placed it into

IS     the stream of commerce throughout the United States, including California, which Plaintiff
19
       purchased.
20
21         52. Plaintiffs purchased the Tesla Model 3 from Tesla stores.

22
           53. The Model i carne with an ii~~~~lied warranty that The Model 3 and any parts thereof
23

24     were merchantable, were the same quality as those generally accepted in the trade, were not of

25     poor or below average quality within the description and/or conformed to the affirmations of
26     fact made by Tesla.
27

28



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          54. 'the Model 3, however, were non-conforming goods and/or goods that were not the
  1
       same quality as those generally accepted in the trade, were of poor or below average quality

  3    within the description and/or did not conform to the affirmations of fact disseminated by
 :~
       "I'esla because they lacked an effective brake control system.


  ~~      55. The model 3, at all times relevant herein were not the same quality as those generally

  7    accepted in the trade, because other local and national businesses selling similar products to the

       same market have implemented safety features that actually eliminate the possibility of loss of
  ~~
       control while the braking system used.
 1O
 II       56. 1'he Model 3, at all tirt~es relevant herein, were of poor or below average quality withi n
 I~
       the description of electric vehicles provided by Tesla.
  .>
 1~       57. The Tesla Model 3, at all times relevant herein, did not and do not have the duality that
 15    a buyer would reasonably expect.
 16
 17       58. As a direct and proximate result of the foregoing, Plaintiffs sustained loss and

       damage and did not receive the benefit of their bargain.
 19
 20
 21
 22
 2
 24
 2_S
 26                           THIRD CAUSE OF ACTION
             BREACH OF WARRANTY SONG-BEVERLY CONSUMER WARRANTY ACT,
 27                           CIVI1. CODE X1790 ET.S'E~).
 28


                               COMPLAINT'—Jason elan v. 'Testa Motors Inc
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           59. Plaintiff re-allege and incorporate by reference as fully set forth herein, all paragraphs

        of Plaintiffs' Complaint.


           60. The transaction by which Plaintiff purchased The Model 3 was for the sale ofgoods

        and at all times relevant, Defendant was a manufacturer, distributors, and/or designers of The

  r,    Model 3 and placed it into the stream oi'commerce throughout the United States, including

  7     California.
  ti
  ~~       61. Defendant was at all relevant times, jointly and severally, the manufacturer,

 I ~1   distributer, warrantor, and/or seller of"I'he Model 3. Defendants knew or had reason to know of

 11     the specific use for which The Model 3 was purchased. The Model three is a manufactured
 I~
        gOOd.
  .~

 1 -1      62. The Model 3 came with an irnplied warranty that "I'he Model 3 and any parts thereof

        are merchantable and fit Por the ordinary purpose for which they were purchased, were
 (>
        the same quality as those generally accepted in the trade, were not of poor or below average
 17
        quality within the description and/or conformed to the affirmations of fact made by
 l~

  ~~    I'esla specifically that items in its packages for T'he Model 3 was safe, warranty

 20     materials, and more generally in it product inserts, it provided along with the sale of The
 21
        Model 3.
 22
 2         63. The braking defect in the The Model 3 Vehicles renders them non-conforming goods

 24     and/or goods that were not the same quality as those generally accepted in the trade, were not fi t
 25
        for the ordinary purposes for which the goods are used, were of poor or below average quality
 26
        ~~ ithi n the description and/or did not conform to the affirmations offact made by Tesla in its
 27

 28



                                 COMPLAINT — Jasou Ala~~ v. Tesla Motors Inc
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        labeling, product inserts and/or warranty materials it provided along with the sale of the Model
   1
        ~.


             64. The Subject Vehicles, at all times relevant herein, were and are not fit for the ordinary
 :a
        purposes for which the goods are used, namely as a reasonably safe means of transportation,

  6     because the defective braking poses an unreasonable safety risk to Plaintiff and passengers) of

  7     The Model 3 when they operate the vehicles for their ordinary purposes.
  8
             65. The Model 3, at all times relevant herein, did not and do not have the quality that a
  q

  t)    buyer would reasonably expect. Tesla advertised the safety of the braking system and/or the

 1 1    safety and reliability of The Model > through various means to Plaintiff with an intent to sell
 12
        The Model 3.
 13

 14          66. Tesla's written representations in the warranty manual(s), website, sales brochures,
 15
        pamphlets, and other writings disseminated by Tesla in the promotion, marketing, and sales
 1 (>
        of The Model 3 constitute an express warranty and/or warranties to Plaintiff.
 17

 18          67. Tesla's written representations in the warranty manual(s), website, sales brochures,
 l9
        pamphlets and other writings disseminated by T'esla in promotion, marketing and sales of The
 20
        Model i regarding the safety and reliability of Ve}~icles and the safety and reliability ofthe
 21

 22
        braking system were false representations offact, that were known by the Defendants to he

 23     untrue at the time they were made andwere intended to create reliance.

 24
             68. "Tesla breached the express warranty by failing to make the regenerative braking system
 2$

 26     safe and reliable as it was described.

 27

 28
                                                       ~z

                                 COMPLAINT'--Jason Ala~~ v. "1'esla Motors Inc
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            69. Tesla's breach caused injury to Plaintiff because Plaintiff did not get the benefit of

        their bargain, which included, rr~tc~r cilia, a safe and reliable vehicle.


            70. Plaintiff substantially performed all of his obligations under the warranty, by presenting

        the Vehicles to authorized Tesla repair facilities during the warranty coverage period and/or by

  c>    accepting all of the over-the-air updatesprovided by Tesla.

  7
            71 . Tesla has failed and refused tc~ take any action to date. At all times relevant, Tesla has
  ti
        Failed and/or refused to repair the defects in the braking system.
  q

  O
            72. As a direct and proximate result of the Foregoing, Plaintiff sustained significant loss
 I I
        and damage, including but not limited to reduced fair market value and did not receive the
 1?

 13     benefit of their bargain: Plaintiff purchased a vehicle, which was unusable due to the

 I .1   safety risks it posed, instead of purchasing a vehicle from a competitor of Tesla that did not
 l~
        pose such safety ri sks.
 16

 17                                     FOURTH CAUSE OF AC'T'ION

 lA                           BREACH OF WARRANTY
 19               MAGNUSON-MOSS WARRAN1'Y AC'I',15 U.S. C.& 2301 ET SEO.

 2U
 2l         73. Plaintiff re-allege and incorporate by reference as fully set forth herein all paragraphs
 22
        of this Complaint. The Subject Vehicle and respective defective braking system on the model 3
 2;
        are "consumer products" as that term is defined by 15 U. S. C. § 2301(1). Plaintiff is a
 24
 2.5    "consumers" as that term is defined by 15 tJ. S. C. ~ 2301(3). Tesla is a "supplier" as that term

 2fi    is defined by 15 [1. S. C. § 2301(4). Tesla is a "warrantor" as that term is defined by 15 U. S. C.

 27       2301(5). 'Tesla provided Plaintiff with "written warranties" as that term is defined by 15 U.
 ~g
                                                         ~3

                                   COMPLAIN"1' - Jaso~~ Alan v. "I'esla Motors Inc
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        S. C. § 2301(6). T'he amount in controversy of the Plaintiffs' individual claim meets or exceeds

        the value of $25.00. In addition, the amount in controversy meets or exceeds the value of

        $75,000.00 (exclusive of interests and costs) computed nn the basis of all claims to be
 :~
        determined in the suit.


 (~        74. Section 1.5 i1. S. C. § 2310(d)(1) provides that a consumer who is damaged by the

  7     failure of a supplier, warrantor, or service contractor to comply with any obligation under this
  K
        title, or a written warranty, implied warranty, or service ccmtract, may bring suit for damages
  y
        and other legal and equitable relief in any court of competent jurisdiction in any state or in an
 IU
        appropriate District Court of the United States.
 I l

 12
           75. Tesla made statements in its advertising, promotion, marketing and sales ofthe Subject
 13
        Vehicle, and by operation of law, constitute implied warranties that these vehicles are
  <1

 l~     merchantable and fit for their intended purpose.

  C~
           76. At all times relevant, Defendant had reason to know at the time ofthe lease/sale and
 17
        delivery of the Subject Vehicle that they were required for a particular purpose, namely as
 l ti

 I9     means of safe transportation on the roads and highways of California and throughout the

 20     United States on the daily basis, and the braking system was meant to stop the vehicle without
 21
        risk or danger of losing stability, or placing Plaintiff at increased risk of automobile collisions.
 22

 2~        77. Plaintiffs' reasonable expectation was that the Subject Vehicle would function

 24     without an increased risk of car accidents, and that the Plaintiff, owners was relying on the
 25
        manufacturer's skill and judgment to develop, design, manufacture, distribute, and sell a
 26
        vehicle with a suitable brakingsystem.
 27

 28
                                                       i=~

                                  COMPLAINT— Jason Alan v. Tesla Motors Inc
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             78. Tesla advertised the safety and reliability of the regenerative braking system and/or the

          safety of Tesla vehicles through various means to Plaintiff with an intent to sell The Model 3.


             79. Tesla's written representations in the warranty manual(s), website, sales brochures,
     ~i
          pamphlets, and other writings disseminated by 7'esla in the promotion, marketing, and sales

     c;   of the Model 3 constitute an express warranty and/or warranties to Plaintiff.

     7
             80. Tesla's written representations in the warranty manual(s), website, sales brochures,
     8
     c~   pamphlets and other writings disseminated by Tesla in promotion, marketing and sales of the

     O    Model i regarding the safety and reliability of "I'he Model 3 and the safety and reliability ofthe

 II       braking system were false representations offact, that were known by the Defendant to be
 I?
          untrue at the time they were made and were intended to create a reliance.
     :~
 1 ~1        81. 'I'esla breached the express warranty by failing to make the regenerative braking system
 l        safe and reliable as it was described.
 16
 17          82. 1'esla's breach caused injury to Plaintiff because Plaintiff did not get the benefit of

 1~       their bargain, which included, inter alicz, a safe and reliable vehicle.
     )
     ~
              K3. Defendant breached these implied warranties by offering, selling or leasing the Subject
 20
 21       Vehicles that, by their design and construction, contained defects that made the braking system

 22       i nherently dangerous. Tesla also breached these warranties by failing to warn Plaintiff of the
 ~;
          deFects as alleged herein, which were, at all relevant times known to Tesla.
 24
 2S           84. Plaintiff substantially performed all ofthe obligations under the warranty, by presenting
 26       the Vehicles to authorized Tesla repair facilities during the warranty coverage period and/or by
 27
          accepting all of the over-the-air updatesprovided by Tesla.
 28
                                                         is

                                   COMPLAIN"i'—Jason Ala~~ v. Tesla Motors Inc
Case 2:21-cv-01800-ODW-AGR Document 1 Filed 02/23/21 Page 16 of 28 Page ID #:16




           85. At all times relevant, Tesla has failed and/or refused to repair the defects in the braking

        system.


           86. As a direct and proximate result of the foregoing, Plaintiff and all the other sustained

        significant loss and damage, including but not limited to reduced fair market value and did

  ~~    not receive the benefit of the bargain: they purchased a vehicle, which was unusable due

  7     to the safety risks it posed, instead of purchasing a vehicle from a competitor of Tesla that

        did not pose such safety risks.
  q

 IU                                       f~ I I~"f'H CAUSF. OF ACTION
 II
                                           I3Rl~:ACH OF CON1'KACT
 12        87. Plaintiff re-allege and incorporate by reference as fully set forth herein all paragraphs of
 1~
        this Complaint.
 1 .1

           88. Plaintiff entered into a valid contract and paid sufficient consideration to purchase a
 I6
        Model 3 from Defendant.
 17

 18        89. Plaintiff substantially performed all of his obligations under the contract.

 19
           90. Defendant materially breached the contract for sale of 'The Model 3 by failing to
 2U
 21     deliver a merchantable vehicle.

 22
           91. As a direct and proximate result of the foregoing, Plaintiff sustained loss and damage
 2i
        and did not receive the benefit of their bargain.
 24

 25

 26

 27

 28
                                                       ~~

                                 COMPLAINT ~--Jason Ala~~ v. Tesla Motors Inc
Case 2:21-cv-01800-ODW-AGR Document 1 Filed 02/23/21 Page 17 of 28 Page ID #:17




                                                   SIXTH CAUSE OF ACTION
                                                    COMMON LAW FRAUD
     -,
                   92. Plaintii~l~ incorporates by reference as fully set forth herein all paragraphs of this

            complaint.
     -1

                   93. Defendant knew that the 1'esla Model 3 lacked a safe braking system and a tested and
     6 ~,
            validated the system.
     ~~

     S             94. Defendants' representation was material, because it related to the safety The Model 3 and
     ~~
            because reasonable consumers such as Plaintiff are likely to be influenced by the lack or
 1Q
            presence of effective vehicle stability systems in deciding whether to purchase The Model
 11

 12         .~ .

 l
                   95. Plaintiff reasonably and justifiably relied on Defendants' representation that they were
 1 .1
            selling The Model 3 equipped with a safe braking system and tested and validated system at
 I>
 (>         that.

 17
                   96. In reliance <m Defendants' representation, Plaintiff purchased The Model 3.
 18

 19                97. As a direct and proximate result of the foregoing, Plaintiff was/is damaged because he
 20
            would not have purchased the 7'esla Model 3 had he known that those representations about the
 21
            vehicles were false.
 22

 23                                         SEVENTH CAUSE OF AC7'lON
                                          INTENTIONAL MISREPRESENTATION
 2~1

 25                98. Plaintiff re-allege and incorporate by reference as fully set forth herein all paragraphs of

 26         this Complaint.
 27

 28



                                         COMPLAINT —Jason Alan v. Testa Motors Inc
Case 2:21-cv-01800-ODW-AGR Document 1 Filed 02/23/21 Page 18 of 28 Page ID #:18




             99. llefendant intentionally represented that they were selling a Model 3 to Plaintiff with a

          safe braking system and a tested and validated it.


              100.    Defendant knew that the Tesla Model 3 lacked a safe braking system, tested and
     ~I
          validated it and continued to represent that it was repaired when it was not.

     ~~
              101.    Defendants'representation was material, because it related to the safety ofThe
     7
          Model ~ because reasonable consumers such as Plaintiff are likely to be influenced by the

     c~   lack or presence of effective vehicle braking systems in deciding whether to purchase the

 10       Model 3.

 1 1
             ]02.     Alaintiffjustifiably relied nn Defendants' representation regarding The Model 3.
 12

 13
              10~.    In reliance of Defendants' representation, I'lai nti Ff purchased "1'he Model 3.
 14

 l            104.    As a direct and proximate result of the foregoing, Plaintiff was damaged because

     (>   he would not have purchased the Tesla Model 3 had they known that Defendants'
 17
          representations were false.
 I~

 19                                     E1G11'I'13 CAUSE O1~ AC'i'ION
                                   N F.(~I_.IGEN'I' MISRF:PRESEN'TAT[ON
20

21            1 05.   Plaintiff re-allege and incorporate by reference as fully set forth herein all
22
          paragraphs of this complaint.
2;

24            106.    Defendant represented that they were selling The Model 3 vehicle with safe
25
          non-defective braking system and a tested and validated it.
26
27            1 07.   ~)efendant had nn reasonable grounds to believe that the Model 3 contained

 28       defective braking system.
                                                         ~x


                                  COMPLA[NT —Jason Alva v. Tesla Motors Inc
Case 2:21-cv-01800-ODW-AGR Document 1 Filed 02/23/21 Page 19 of 28 Page ID #:19




             08.      llefendants' representation was material, because it related to safety of the model

   -,   3 and because reasonable consumers like Plaintiff are likely to be influenced by the lack o~~

  3     presence of a braking systems in deciding whether to purchase these products.


            109.    Plaintiff reasonably and justifiably relied nn Defendants' representation regarding

  ~>    the Model 3. In reliance on Defendants' representation, Plaintiff purchased the Model 3.

  7
            1 10.    As a direct and proximate result of the foregoing, Plaintiffs and putative class

  q     members were damaged because they would not have purchased the Model 3 had they known

  O     Defendants' representations were false.

 11
                                    NINTH CAUSE OF ACTION
 I'
  mo                VIOLATION OF THE CALIFORNIA UNFAIR COMPETITION LAW
 13
                          BUSINESS AND PROFESSIONS CODS;§§ 17200 ETSEp.
 I CI
            1IL     Plaintiff're-allege and incorporate by reference as fully set forth herein all
 1 .5
        paragraphs of this cornp(aint.
 16
 17         1 12.     Plaintiff bring this claim against Defendant for their unlawful, unfair,
 l ti
        fraudulent, untrue and/or deceptive business acts and/or practices pursuant to California
 19
        Business and Professions Code ~ 17200 et seq.("UCL"), which prohibits all unlawful, unfair
 20
 ~~     and/or fraudulent business acts and/or practices.

 22
            1 13.    Plaintiff has standing to bring this claim on behalf of himself pursuant to
 2~
        California Business and Professions Code § 17200 et sect, because Plaintiff suffered injury-in-
 2~4
 25     fact, ij~rter alia, because he would not have purchased the Model 3 had he known that the

 26     Model 3 vehicle did not contain safe braking system and a tested and validated brake control
 27
        system or would have paid less for the Subject Vehicle.
 2~
                                                       ~ ~~

                                COMPLAINT — J1son Alan v. Tesla Motors Inc
Case 2:21-cv-01800-ODW-AGR Document 1 Filed 02/23/21 Page 20 of 28 Page ID #:20




             14.     'I'esla had exclusive knowledge of the fact that The Model 3 did not contain a

        safe braking system and a tested and validated brake control system.

  3
            1 15.    The lack of a safe braking system and a tested and validated brake control system
  -1
        i n The Model 3 is material as alleged herein.

  6
            1 l6.   Tesla had a duty to disclose the lack of a safe braking system and a tested and
  7
        validated braking control system in The Model 3 alleged herein.
  8
  q
            1 17.   Testa actively concealed the lack of a safe braking system and a tested and
 1 1)
        validated brake control system from Plaintiff.
 ll

 12         1 18.   'Testa actively concealed the ffth service visit on January 28, 2021 where it failed
 l~
        to reconnect the brakes after the fourth service visit on January 28, 2021 for the brakes by not
 14
        producing a record to Plaintiff of the visit ever happening.
 15
 16         l 19.   Testa intended to deceive Plaintiff by concealing the lack of a safe braking
 17
        system and a tested and validated braking control system, motivated by market share and
 18
        profit margin.
 19

20         ]20.      At all relevant times herein, Testa affirmatively represented that The Model 3 had
21
        a safe regenerative braking system and a tested and validated the brake control system, and
22
        i ntentionally failed to include those systems in The Model 3.
2~

 24
            1 21.   Ordinary consumers such as Plaintiff would not have recognized the fact that the
 2.5
        I~esla Model 3 lacked safe braking system and a tested and validated brake control system,
 26
        because of Tesla's misrepresentations. Thereby, Plaintiff was likely to be deceived.
 27
  ;
  ~
                                                      ~~>

                                C'OMPL.AINT-Jason Ala~l v. "I'esla Motors Inc
Case 2:21-cv-01800-ODW-AGR Document 1 Filed 02/23/21 Page 21 of 28 Page ID #:21




            122.     Plaintiff relied nn Tesla' nondisclosure and affirmative misrepresentations and

        purchased the Model 3 and were damaged as alleged herein.

  3
            123.     Tesla's conduct, as fully described herein, constitutes acts of untrue and misleading
  ~a
        advertising and is, by definition, violation of California Business and Professions Code

  c,    17200 el seg. Such conduct offends the established public policy of the State of California

  7     and is immoral, unethical, oppressive, unscrupulous and substantially injurious.
  S
  c~        l 24.    These advertisements, due to the national scope and extent of Defendants multi-

 IO     media campaign, were uniformly made to Plaintiff. Plaintiff's act of purchasing the Model

 II     were consistent with basing such decisions upon such advertisements, and thus formed part of
 12
        the basis for the transaction at issue, or the beneft of the bargain, which was material; had
 13
        Plaintiff known differently as to the lack of safe braking system and a tested and validated brake
 I .1

 l5     control system in The model 3 he would not have purchased The Model.

 16
            1 2.5.   Tesla's misconduct as alleged in this action constitutes negligence and other
 17
        tortious conduct and this misconduct gave Defendant an unfair competitive advantage over
 l8

 19     their competitors.

 20
            126.     On the basis oPbalancing the welfare of the community and public interest the
 2I
        utility to Tesla is de n~i~~~imi~s, so that the conduct of Tesla is morally reprehensible,
 22

 23     unethical and unscrupulous. Tesla's practice is offensive to public policy and is immoral,

 24     unethical, oppressive, unscrupulous, and substantially injurious to consumers.
 2.5

 26         1 27.    'The acts, omissions, misrepresentations, practices and non-disclosures of

 27

 28
                                                      z~

                                COMPLAfN'T — .lason Alva v. Tesla Motors Inc
Case 2:21-cv-01800-ODW-AGR Document 1 Filed 02/23/21 Page 22 of 28 Page ID #:22




                  128.    Defendant as alleged herein constitute unlawful, unfair and/or fraudulent business

       acts and/or practices within the meaning of California Business and Professions Code ~ 17200 ~~

       .S'E'C'.


  -~

                  129.    'The acts, omissions, misrepresentations, practices, non-disclosures and/or

 0     concealments cif material facts,. and/or deception alleged in the preceding paragraphs

       occurred in connection with Defendants' conduct of trade and commerce in the United

       States and in California.
  ~~

 10               130.    The unlawful, unfair, deceptive and/or fraudulent business practices and/or

 II    false and misleading advertising of Tesla, as fully described herein, present a continuing injury
 I~
       to Plaintiff as alleged herein.
 13

  ~J              131.    As a direct and proximate result of the aforementioned acts, Defendant received
 15     monies expended by Plaintiff who purchased 1'he Model 3.
 (~

 l7               1 32.   Pursuant to California Business and Professions Code ~ l 7203 of the UCI.,

 18     Plaintii'f seeks an order of this Court enjoining 7'esla from continuing to engage in
 19
        unlawful, unfair or fraudulent business practices, and any other act prohibited by the UCL.
 20

 21               1 33.   In addition to the relief requested in the Prayer below, Plaintiffs seek the

 22     i mposition of a constructive trust over, and restitution oi; the monies collected, and profits
 2
        realised by Defendant.
 24

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                                      COMPLAINT -- Jason Alan v. ~'csla Motors Inc
Case 2:21-cv-01800-ODW-AGR Document 1 Filed 02/23/21 Page 23 of 28 Page ID #:23




                                          TENTH CAUSE OF ACTION

               VIOLATION OF CALIFORNIA'S FALSE ADVERTISING LAW ("FAL"),

                  CALIFORNIA BUSINF,SS & PROTESSIONS LODE ~~ 17500ETSEO.


              134.     Plaintiff re-allege and incorporate by reference as fully set forth herein
     c>
          paragraphs of this complaint.
     7

              1 35.    Plaintiff brings this claim nn behalf of himself againt Defendant for their
     c~
          unlawful, unfair, fraudulent, untrue and/or deceptive business acts and/or practices pursuant
 IU
 11       to California ~3usiness and Professions Code ~ 17.500 et seq. ("FAL"), which prohibits all

 l~       unlawful, unfair and/or fraudulent business acts and/or practices.

 13
              136.       FAL makes it unlawful for any person, firm, corporation or association, or any
 1 -1

 l        employee thereof, with intent directly or indirectly to dispose of personal property to make or

 16       disseminate or cause to be made or disseminated before the public in this state, or to make or
 17
          disseminate or cause to be made or disseminated from this state before the public n any state, in
 18
          any advertising device, ~r by public outcry or proclamation, or in any other manner or means
 19
          whatever any statement, concerning that real or personal property which is untrue or misleading,
 2U

 21       and which is known, or which by the exercise of reasonable care should be known, to be untrue

 22       or misleading.
 2
              137.      Defendant is a persons, firm, corporation or associations, or employees of
 24
 25       thereof.

 26
              138.     "The Tesla Model i is personal property.
 27

 28
                                                        z3

                                   COMPLAINT —Jason Alan v. 'Testa Motors L1c
Case 2:21-cv-01800-ODW-AGR Document 1 Filed 02/23/21 Page 24 of 28 Page ID #:24




                  139.    Defendant made statements to the public, including Plaintiff concerning the Model

              3, stating that The Model 3 contained safe braking system and a tested and validated brake

              control system, with an intent to dispose of The Model 3.
     -1
                  1 40.   Said statement regarding the Model 3 was untrue or misleading.

     ~~
                  1 41.   Said statement was known by Defendant to be untrue, or by the exercise of
     7
              reasonable care should have been known to be untrue or misleading.

     9            142.    Plaintiff requests restitution of the moneys paid, disgorgement of profits made
 10
              by Defendant as a result of the foregoing.
 I1
 I?       ~                                 ELEVENTH CAUSE OF ACTION
                                                      UASI
 l                                       CONTRACT/RF.STITl1TION/UNJUST
 14                                              ENRICHMENT

 15                ~3.    Plaintiffs re-allege and incorporate by reference as fully set forth herein all

 16           paragraphs of this complaint.
 17
                  144.    Plaintiffs bring this cause of action on behalf of himself.
 18
 19
                  145.    Defendant intentionally and recklessly made misrepresentations and concealed facts
 20
              about The Model 3 to Plaintiff with an intent to induce him to purchase The Model 3.
 21
 22               146.    In reliance nn Defendants' misrepresentations and concealment, Plaintiff believed
 2>
              that The Model ~ contained a safe braking system and a tested and validated braking control
 24
 ~5           stability system.

 26
                 ]47.     Plaintiff made monetary payments to Defendant Tesla to purchase The Model ~.
 27
 28
                                                            z~+

                                      COMPLAINT —Jason Alan v.'Tesla Motors Inc
Case 2:21-cv-01800-ODW-AGR Document 1 Filed 02/23/21 Page 25 of 28 Page ID #:25




             148.     Defendant was unjustly enriched by any payments Plaintiff made to Defendant that

          resulted from the misrepresentations and concealment.


             1 49.    Therefore, is entitled to restitution based nn the quasi contract between Plaintiff
     _~
          and Defendant.

     c>
                                                   PRAYER
     7


             WHF.REFORF., Plaintiff, prays for judgment against Defendant as follows:
     ~~

 1O
 II                  a.     For actual damages, if adequate;

 12                  h.      Return of the model 3, Refund of purchase price including any
                     additional and consequential damages suffered by Plaintiffs;
 l
                     c.     Return of all finance charges incurred by Plaintiff for the MODEL i;
     -1
                     d.     For restitution, as appropriate;
 l~
                     e.     For statutory prejudgmentinterest;
 1 (>
                     £      For reasonable attorneys' fees and the costs of this action (If any);
 17
                     g.     For an order enjoining Defendants from making false representations
 18
 19I                 about The Model 3 vehicle.

 20                  h.     F'or declaratory and/or equitable relief under the causes of action stated

 21                  herein; and

 22                  i.     For general special damages according to proof at trial;

 2                   j.      For punitive damages against defendant according to proof at trial and using
                     the applicable punitive damages standards frorti the involved statues;
 ?4
                     k.     For such other relief as this Court may deem just and proper.
 ,;
                     1.     For treble damages pursuant to Cal Penal Code 3345
 26
 27
 ,
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                                   COMPLAIN"1~ -Jason Alan v. Tesla Motors Inc
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                                                       J lJ RY


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  5
               Plaintiff reserves her right under Section 16 of Article 1 of the Constitution of the State oi~
  E
        California to a trial by jury and hereby demands a trial by jury on all issues so triable.
  7

  8
        Dated: February 22, 2021
  9
 10                                                         By: /s/Jason Alan:
 II                                                              JASON ALAN
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                                     COMPLAINT --Jason Alan v. Tesla Motors Inc
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